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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
BRIAN D. TAYLOR,
Plaintiff,
V.

1:21-cv-1354 (LMB/IDD )

EXPERIAN INFORMATION SOLUTIONS, INC.,
ET AL.,

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Defendants.
ORDER

It appears from the record that the defendant Verizon Communications, Inc. is in default.
Accordingly, it is hereby

ORDERED that plaintiff immediately obtain an entry of default against defendant Verizon
Communications, Inc. from the Clerk pursuant to Fed. R. Civ. P. 55(a), and it is further

ORDERED that promptly after obtaining the entry of default, plaintiff file a motion for default
judgment and an accompanying memorandum setting forth the factual and legal support for findings that
(a) this court has subject matter and personal jurisdiction, including how the defendant was served and
why that service was proper; (b) the complaint alleges facts establishing all the necessary elements of one
or more claims on which relief can be granted against this defendant; and (c) plaintiff can receive the
damages and any other relief sought from this defendant, with specific references to affidavits,
declarations, or other evidence supporting such relief, and notice it for a hearing at 10:00 am before the
magistrate judge assigned to this civil action, and it is further

ORDERED that plaintiff mail copies of the notice of hearing, motion for default judgment, and
supporting memorandum to the defendant, certifying the same to the court.

The Clerk is directed to forward a copy of this Order to counsel of record.

Entered this DS Gay of January, 2022.

Alexandria, Virginia

/s/

Leonie M. Brinkema
United States District Judge
